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BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATIONCLERK GF THE PANEL

IN RE L&E OIL OPERATIONS CONTRACT LITIGATION

ORDER DENYING TRANSFER#*
This litigation consists of two actions pending in two
federal districts: one action in the District of Colorado and
one action in the Western District of Kentucky. Presently before
the Panel is a motion under 28 U.S.C. §1407 by L&E 011
Operations, the plaintiff in one action and the defendant in the
other action, to transfer the Kentucky action to the District of
Colorado for coordinated or consolidated pretrial proceedings
with the action pending there. No party has responded to the
motion.

On the basis of the papers filea,t/ we find that Section 1407
transfer would neither serve the convenience of the parties and
witnesses nor further the just and efficient conduct of the
litigation. We note that only two actions are involved here, and
suitable alternatives to transfer exist. Moreover, each action

© involves essentially the same parties, a factor that increases
the opportunities for streamlining this litigation through
cooperative efforts by the parties and their counsel.

IT IS THEREFORE ORDERED that the motion pursuant to 28 U.S.C.
§1407 to transfer the actions listed on the attached Schedule A
be, and the same hereby is, DENIED.

FOR THE PANEL:

Condi E.

Andrew A. Caf
Chairman

  

* Judges Robert H. Schnacke and Sam C. Pointer, Jr. took no part
in the decision of this matter.

i/ The parties waived oral argument and accordingly the question
of transfer under Section 1407 was submitted on the briefs. Rule
@ 14, R.P.J.P.M.L., 89 F.R.D. 273, 283-84 (1981).
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Schedule A
MDL-590 -~- In re L&E O11 Operations Contract Litigation

Western District of Kentucky

L&E O11 Operations, etc. v. Petroleum Search, Inc., et al.,
. “-_C.A. No. C 83-0259-0(B)

District of Colorado

Petroleum Search, Inc. v. Lyle D. Stroup, et al., C.A. No.
83-C-2434
